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 4   Attorney for Defendant
     JIMMIE PERRYMAN
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 6
 7                          IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:08-CR-0197 GEB
11                                 Plaintiff,           STIPULATION AND
                                                        ORDER TO CONTINUE STATUS
12          vs.                                         CONFERENCE, AND TO EXCLUDE
                                                        TIME PURSUANT TO THE SPEEDY
13   JIMMIE PERRYMAN,                                   TRIAL ACT
14                                 Defendant.
15
16           IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Todd D. Leras, Assistant United States Attorney, attorney for plaintiff; and
18   Michael E. Hansen, attorney for defendant Jimmie Perryman, that the previously-scheduled
19   status conference date of August 12, 2011, be vacated and the matter set for status conference
20   on October 21, 2011.
21           This continuance is requested to allow counsel additional time to review discovery with
22   the defendant, to examine possible defenses and to continue investigating the facts of the case.
23          Accordingly, counsel and the defendants agree that time under the Speedy Trial Act
24   from the date this stipulation is lodged, through October 21, 2011, should be excluded in
25   computing time within which trial must commence under the Speedy Trial Act, pursuant to
26   / / / / /
27   / / / / /
28   / / / / /


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     Stipulation and Order to Continue Status Conference
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 1   Title 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and Local Code T4 [reasonable time for defense
 2   counsel to prepare].
 3   Dated: August 10, 2011                              Respectfully submitted,
 4
                                                         /s/ Michael E. Hansen
 5                                                       MICHAEL E. HANSEN
                                                         Attorney for Defendant
 6                                                       JIMMIE PERRYMAN
 7   Dated: August 10, 2011                              U.S. ATTORNEY’S OFFICE
 8
                                                         By: /s/ Michael E. Hansen for
 9                                                       TODD LERAS
                                                         Assistant U.S. Attorney
10                                                       Attorney for Plaintiff
11
12                                              ORDER
13          IT IS HEREBY ORDERED that the previously-scheduled status conference date of
14   August 12, 2011, be vacated and the matter set for status conference on October 21, 2011.
15   Time is excluded in the interests of justice pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv),
16   and Local Code T4.
17           Dated: August 11, 2011
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20                                        GARLAND E. BURRELL, JR.
21                                        United States District Judge

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     Stipulation and Order to Continue Status Conference
